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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 11-cv-02891-PAB-MJW

  DAVID M. SHELTON AND
  DESIGNSENSE, INC.,

         PlaintiffS,

  v.

  MRIGLOBAL, a non-profit corporation, formerly Midwest Research Institute
  its National Renewable Energy Laboratory Division, and
  ALLIANCE FOR SUSTAINABLE ENERGY, LLC,

         Defendants.


                                     FINAL JUDGMENT


         In accordance with the orders filed during the pendency of this case, and

  pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

         Pursuant to the Order of Judge Philip A. Brimmer entered on September 28,

  2012, it is

         ORDERED that defendants’ motion to dismiss [Docket No. 34] is GRANTED and

  that plaintiffs’ Lanham Act and Copyright Act claims are dismissed for failure to state a

  claim. It is further

         ORDERED that, pursuant to 28 U.S.C. § 1367(c)(3), plaintiffs’ state law claims

  are dismissed without prejudice. Accordingly, it is further

         ORDERED that this case is closed in its entirety.
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        DATED at Denver, Colorado September 28, 2012.

                                            FOR THE COURT:
                                            JEFFREY P. COLWELL, CLERK


                                            By: s/ Edward Butler
                                              Edward P. Butler
                                              Deputy Clerk
